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             EXHIBIT 18
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 5335 Wisconsin Ave. NW, Suite 640, Washington D.C. 20015 | 202.429.2290 | masonllp.com

                                        June 20, 2025

Via Email

Cheryl Florio
Director of ADR Operations
American Arbitration Association
16 Market Square
1400 16th Street, Suite 400
Denver, CO 80202
CherylFlorio@adr.org

       Re:    Individual Claimants v. Valve Corporation
              Case No. 01-23-0005-8758
Dear Ms. Florio:

        I write in response to Valve’s June 18, 2025, email requesting that AAA improperly
issue an individual invoice for Claimant Ryan Lally’s arbitration. Ryan Lally is one of the
14,911 Claimants for which AAA has already issued an invoice that Valve has refused to
pay. See AAA’s March 24, 2025, email and attachments. As discussed below, Valve has
not been transparent about Lally’s role in this case. Valve’s request for a separate invoice
is improperly motivated, and AAA should deny it.

       As you know, Valve has repeatedly refused to pay any further arbitration fees with
respect to the 14,911 Claimants and Valve has repeatedly demanded that AAA close all
these files as a result. On the other hand, Claimants have advised AAA that they “are
preparing appropriate court filings to compel Valve to pay all arbitration fees required of it
to proceed with these arbitrations and all other appropriate relief or sanctions...” See
Claimants’ April 30, 2025, email to AAA. Claimants asked AAA not to close these cases
due to Valve’s refusal to pay arbitration fees but, instead, to put the files in “administrative
suspension (or ‘hold’)” until a court of appropriate jurisdiction rules on the matter. Id.
After considering the parties’ competing positions, AAA “place[d] these cases in abeyance
pending a Court’s Ruling in accordance with Claimants’ request.” See Cheryl Florio’s May
15, 2025, email to the parties. (Emphasis added). Valve now asks AAA to reissue a singular
fee invoice for Lally so that it can arbitrate his claim alone.

       Despite its duty of candor to this arbitration tribunal, Valve has failed to disclose to
AAA that Lally is one of the original named consumer class action plaintiffs in In re Valve
Antitrust Litigation, Case No. 2:2021-cv-00563 (W.D. Wash.), the case in which Valve

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successfully moved the Court to compel this arbitration. Valve also failed to disclose that
Lally recently filed a motion for sanctions asking that Court to order Valve to pay the March
24 invoice in its entirety by a certain deadline or sanction Valve if it continues to refuse.
See Plaintiff Ryan Lally’s Motion for Sanctions (Dkt. 467) and the Declaration of Gary E.
Mason in Support of Plaintiff Ryan Lally’s Motion for Sanctions. (Dkt. 468) from In re
Valve, supra, (June 11, 2025) (both of these filings are attached hereto).1

       Valve’s non-disclosures are part of its broader strategy to undermine this arbitration.
If AAA were to issue an individual invoice, and Valve paid it, Valve could argue in response
to Lally’s Motion for Sanctions that the basis of the motion is moot. Thus, Valve could
further delay paying the March 24 invoice. AAA should not enable this maneuver. AAA
should maintain the status quo and continue to keep this case in abeyance until a court
rules.

       As previously stated, counsel for Claimants intend to proceed with some claims
for persons who did not consent to the removal of the arbitration provision. But who will
go forward is a decision to be made by the Claimants and their counsel, not by Valve.
There is nothing in the AAA rules that allows Valve to cherry-pick the fees it owes. As
provided for by AAA rules, the claimants who opt to go ahead with their claims will pay
respondent’s fees.

        Valve’s request for AAA to reissue an invoice for Claimant Ryan Lally should be
denied. AAA should continue to keep this matter on hold pending resolution by the courts.

                                                Sincerely,




                                             Gary E. Mason




1
 Another arbitration claimant, Pamela Welty, has filed a putative class action on behalf of Claimants
residing in California seeking redress for Valve’s violations of the California Arbitration Act, Cal. Code
Civ. Proc. §§ 1281.97–1281.99. See Class Action Complaint in Welty v. Valve Case No. 2:25-cv-00696,
Dkt.1-1 (E.D. Cal.) (attached hereto). That case is in the earliest stages, with a scheduling conference set
for August 19, 2025.



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cc:    Cheryl Florio Cheryl (Florio@adr.org)
       Michael W. McTigue, Jr.
       Meredith C. Slawe
       Colm McInerney
       Christopher Schneck
       Jessica Painley
       Gavin Skok
       Danielle L. Perry
       Theodore B. Bell




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